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                                   STATEMENT OF FACTS

        Your affiant, Courtney McLaughlin, is a Task Force Officer with the Federal Bureau of
Investigation (FBI) and have been since April 2010. In my duties as a Task Force Officer, I am
tasked with investigating domestic terrorism investigations. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Task
Force Officer, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Facts Specific to Adam & Brian Jackson

        On or about March 31, 2021, the FBI received a tip from an individual (“Witness 1”) stating
that their distant relatives BRIAN SCOTT JACKSON and ADAM LEJAY JACKSON
participated in the Capitol Riots on January 6, 2021. Witness 1 described these two subjects as
brothers and provided dates of birth for both. Witness 1 provided the names of the brothers’
parents and further stated the family owns an electric company in Katy, Texas. Witness 1 indicated
the brothers displayed their involvement in the Capitol riots previously on Facebook but have since
removed the posts. I reviewed driver’s license records for both BRIAN SCOTT JACKSON and
ADAM LEJAY JACKSON, and the dates of birth provided by Witness 1 matched.

       Records from Facebook for user “Skooter Jackson” (who also uses the name Brian
Jackson) list a residence of Katy, Texas, and indicate a date of birth that matches the date provided
by Witness 1 for BRIAN SCOTT JACKSON. The account also lists a phone number that New
Cingular Wireless confirmed belonged to Brian Jackson. Records from Facebook for user
“adam.jackson.796774” list a phone number registered with an area code that corresponds to Katy,
Texas and a date of birth that matches the date provided by Witness 1 for ADAM LEJAY
JACKSON.

        The Facebook records for Brian Jackson included images of him, Adam Jackson, and a
friend, all taken at and around the U.S. Capitol on January 6, 2021. They appear to show that the
Jacksons and a friend attended the “Stop the Steal” rally and later on went to the Capitol building
to take part in the riot. Records from Southwest Airlines confirm that ADAM LEJAY JACKSON
and BRIAN SCOTT JACKSON departed from Houston on January 5, 2021, and landed shortly
after noon at the Baltimore/Washington International Airport. Their return flights from BWI to
Houston departed on January 7, 2021 at 2:20PM.

        Brian posted a photo in which Adam (circled in yellow) and a friend were tagged in the
following image, which was posted on January 6, 2021, with the caption: “Me and [@Adam
Jackson] having a nice stiff drink after the pre rally while Ryan went to the store.” The individual
circled in red has an appearance that is consistent with the driver’s license photo for BRIAN
SCOTT JACKSON; the individual circled in yellow has an appearance that is consistent with the
driver’s license photo for ADAM LEJAY JACKSON.




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                                               Image 1

Comments on this post included “Stop the steal” and “Go getem guys !” Brian Jackson responded
to the latter comment with “hell yeah it’s gonna be epic !!!”

       Other photos from Brian Jackson’s Facebook account include images from what appear to
be the West Lawn and Lower West Terrace of the U.S. Capitol building after the “Stop the Steal”
rally:




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                                                Image 2




                                                Image 3

        Video obtained from U.S. Capitol Police (USCP) and from open sources show the same
individuals outside of the tunnel in the Lower West Terrace of the Capitol building on January 6,
assaulting a line of police officers at around 5:00pm. For example, the following set of images

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depict Brian Jackson hurling what appears to be an American flag on a light-tan colored pole at
police officers:




                                               Image 4




                                               Image 5




                                              5
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                                                 Image 6




                                                 Image 7

       Video sent from Brian Jackson’s Facebook account shows that he was wearing a black
sweatshirt, face mask, flag tied around his neck, and red Trump hat consistent with Image 7 above:




                                                6
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                                             Image 8

       USCP surveillance video footage, bodyworn camera footage from the Metropolitan Police
Department, and videos obtained from open sources, depict an individual who appears to be
ADAM LEJAY JACKSON attacking the same line of law enforcement officers at the tunnel
outside of the Lower West Terrace around 5:00pm on January 6 as well.

       He hurls a large red or orange object at Capitol Police who are lined up in the tunnel in the
Capitol building’s Lower West Terrace:




                                                 7
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                                              Image 9

        After throwing the orange object, Adam Jackson charges at the line of law enforcement
officers with what appears to be a U.S. Capitol Police riot shield:




                                             Image 10




                                             8
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                                              Image 11




                                               Image 12
      During his attack with the riot shield, Adam Jackson’s baseball hat appears to have been
knocked off his head and his head appears to be cut.



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                                              Image 13

        Videos from Brian Jackson’s Facebook account corroborate that Adam Jackson is the
individual depicted in Images 9 through 13 above. For example, in one video sent from Brian
Jackson’s Facebook account, an individual whose description matches the individual in Images 9
through 13 is depicted on what appears to be the Lower West Terrace of the U.S. Capitol building
on January 6. He is still wearing his baseball cap, so it is likely that the video and the image below
were taken before his assault on law enforcement officers. He is standing with the friend, passing
a bottle of liquor to a young man with braces, and stating: “Are we going in? Let’s go . . . What
are we doing standing here, let’s go!”




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                                                Image 14

        In another video from Brian Jackson’s Facebook account, the individual circled in Image
14 in yellow is depicted holding a police riot shield on what appears to be the Lower West Terrace
of the Capitol building, and a voice is heard saying, “Adam got a god-damned shield, stole it from
the fucking popo!” The video (and other videos from the same account) also shows other rioters
attacking police at the tunnel.

        Here is another screenshot of Adam and Brian Jackson at the riot, taken from an open
source video. This video and image were likely taken after they had assaulted law enforcement
officers, given that Adam Jackson is no longer wearing his baseball hat and his raised hand appears
to have blood on it:




                                                Image 15



                                                11
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        Brian Jackson also attempted to delete evidence in this investigation. He “unsent” several
messages he had sent bragging about his participation in the riot, and sent multiple messages asking
others to delete videos and messages he had sent; he also appears to have deleted one of his
Facebook accounts at some point after January 6. For example, in an exchange with another person
on January 9, 2021, he asks the person to delete videos, admits to being in Washington, DC, and
discusses getting in fights:

   •   Other person: It’s going to come down to it and we’re going to have to take back our great
       country I’m not surrendering any of my weapons I’ll die a free man with a gun in my hands
       bubba
   •   Brian Jackson: I hear ya and I’m with ya fuck NWO !!!
   •   Brian Jackson: Delete those videos
       ...
   •   Other person: Will do
   •   Other person: You still in Washington or back in Texas
   •   Brian Jackson: Back home got in Thursday around 5pm
   •   Other person: Oh hell you n the gang get into any fights up there
   •   Brian Jackson: A couple chased a few niggers off to on the streets too bitches talking shit
       then catch that pussy and run aint nothing but niggers there even all the cops are black
       fucking crazy I will never take my ass back to DC!!!

       In another message on January 27, 2021, to another person, he said “I took my other fb
page down because of my trip to Dec on 6th posted a bunch pics I shouldn’t have.”

     Adam Jackson’s Facebook account messages also corroborate that ADAM LEJAY
JACKSON and BRIAN SCOTT JACKSON were at the U.S. Capitol building on January 6.

       For example, on January 4, 2021, Brian Jackson sent Adam Jackson the following message,
which appears to contemplate what they would wear to the riot:




                                                12
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Brian Jackson then stated, “Also heard proud boys will be wearing all black to blend in with
antifa.”

       Just four days after the riot, on January 10, 2021, Adam Jackson exchanged the following
messages with another person, indicating that he wanted to return to Washington, DC for
inauguration:

   •   Other person: Dude looks like your bro’s FB deleted!
   •   Adam Jackson: Try Brian Jackson
   •   Other person: Ah got him. Been showing one of my guys yalls videos. Looks like you guys
       were all up in it!��
   •   Adam Jackson: We were. I’m fucking pissed at what is happening and the things that are
       being covered up.
   •   Other person: Yeah bro. Usa is going to hell in a handbag right in front of us! Not even
       covered up well
   •   Adam Jackson: Yup! Sad part is that most people don’t wanna see it.
   •   Other person: Yeah. Its not good. Are you going back for inauguration?
   •   Adam Jackson: I’m gonna do my best to get there. Working on it.
   •   Other person: Did you bring the shield home?
   •   Adam Jackson: No, we left them. Cost to much to ship home lol



                                              13
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And approximately a week after the riot, Adam Jackson forwarded a message to several people
(including Brian Jackson and the friend who attended the riot with them), which alleged, among
other things, that:

       Democrat controlled and big cities may be hit the worst because BLM & Antifa
       will riot and loot when Biden isn’t seated. That’s why the military is on standby. .
       . I know the Joint Chiefs put out a letter they are supporting the new President Biden
       on the 20th - what else are they supposed to say right now? It’s all optics to keep
       things calm. Remember. If POTUS doesn’t stop this, he will be hunted down and
       arrested along with his entire family by the left. That's a fact. And with him gone,
       our country is gone too. He knows this. He’s not going to sit there and do nothing.
       From now to the 19th is show time, we just don't know exactly when. So yes, we
       are in a full blown Military Operation right now to remove the threats and install
       our President back in power and control the violence in the big cities.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
ADAM LEJAY JACKSON and BRIAN SCOTT JACKSON violated 18 U.S.C. § 1752(a)(1), (2),
and (4), which makes it a crime to (1) knowingly enter or remain in any restricted building or
grounds without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt
the orderly conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so
that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; (4) knowingly engages in any act of physical violence against any person or
property in any restricted building or grounds; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that ADAM LEJAY JACKSON
and BRIAN SCOTT JACKSON violated 40 U.S.C. § 5104(e)(2)(F) which makes it a crime to
willfully and knowingly engage in an act of physical violence in the Grounds or any of the.

        Your affiant submits that there is probable cause to believe that ADAM LEJAY JACKSON
and BRIAN SCOTT JACKSON violated 18 U.S.C. § 111(a)(1), which makes it a crime to assault,
resist, oppose, impede, intimidate, or interfere with a federal law enforcement officer, as
designated in Section 1114 of Title 18, while engaged in or on account of the performance of
official duties. Section 1114 specifically lists United States Capitol Police (USCP) officers as
federal law enforcement officers. This definition under Section 1114 is further extended to any
person assisting such a federal officer or employee in the performance of his or her duties or on
account of that assistance. USCP officers are Federal law enforcement officers, and MPD officers
were assisting them in protecting the Capitol and the Members of Congress on January 6, 2021.

      Finally, your affiant submits there is probable cause to believe that ADAM LEJAY
JACKSON and BRIAN SCOTT JACKSON violated 18 U.S.C. § 231(a)(3), which makes it
unlawful to commit or attempt to commit any act to obstruct, impede, or interfere with any fireman


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or law enforcement officer lawfully engaged in the lawful performance of his official duties
incident to and during the commission of a civil disorder which in any way or degree obstructs,
delays, or adversely affects commerce or the movement of any article or commodity in commerce
or the conduct or performance of any federally protected function. For purposes of Section 231 of
Title 18, a federally protected function means any function, operation, or action carried out, under
the laws of the United States, by any department, agency, or instrumentality of the United States
or by an officer or employee thereof. This includes the Joint Session of Congress where the Senate
and House count Electoral College votes.



                                                     _________________________________
                                                     Courtney McLaughlin
                                                     Task Force Officer
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of June 2022.
                                                                             Zia M. Faruqui
                                                     ___________________________________
                                                     HONORABLE ZIA M. FARUQUI
                                                     UNITED STATES MAGISTRATE JUDGE




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